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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NORTH DAKOTA

Northern Bottling Co., Inc.,                   )
                                               )
                 Plaintiff,                    )      ORDER
                                               )
       vs.                                     )
                                               )
PepsiCo, Inc.,                                 )      Case No. 4:15-cv-133
                                               )
                 Defendant.                    )


       The court conducted status conference with the parties by telephone on January 5, 2017.

Pursuant to the parties’ discussions, the court issued an order (1) suspending pretrial deadlines

pending further order, and (2) directing the parties to submit a status report of their settlement

negotiations by February 6, 2017.

       On February 6, 2017, the parties filed a joint status report in they requested that the court

extend the suspension of pretrial deadlines for an additional 21 days as their negotiations are

ongoing. The court grants the parties’ request and directs them to file another joint status report by

February 27, 2017.

       IT IS SO ORDERED.

       Dated this 6th day of February, 2017.

                                                      /s/ Charles S. Miller, Jr.
                                                      Charles S. Miller, Jr., Magistrate Judge
                                                      United States District Court
